       Case 5:12-mj-00791-HJB Document 1 Filed 08/09/12 Page 1 of 7


   Case 3:12-cr-00003-P Document 47               Filed 08/09/12
                                                                              NORTHERN DISTRIcT OF mxs
                                                                                        FILED

                              UNITED STATES DISTRICT COURT
                               PROBATION AND PREFRIAL SERVICES
                                                                                 [AuG9J
                                 NORTHERN D1SflICT OF TEXAS                  CLERK, US. J)ISTRICT COURT
                                                                                          -
        UNITED STATES OF AMERICA                   )                                     Deputy
                                                   )
                         v.                        )    Case No. 3:12-CR-003-P (01)
                                                   )
              Samuel George Hurd,   ifi            )              5       /2                      7j
                         REPORT OF VIOLATION OF CONDITIONS
                                OF PRETRIAL RELEASE

        COMES NOW Angela Roberson, Probation Officer, presenting a report to the Court upon

the conduct of defendant Samuel George Hurd, Ill, who was placed on pretrial release supervision

by the Honorable Judge Young B. Kim, sitting for the Court at Chicago, illinois, on December 15,

2011, under the following conditions:

       (1) The defendant must not violate any federal, state, or 1ocl law while on release.

       (Sp) The defendant must refrain from use or unlawful possession   ofa narcotic drug or other

       controlled substances as defined in 21 USC § 802, unless prescribed by a licensed medical

       practitioner.

The undersigned has information that the defendant has violated such conditions hi each of the

following respects:

       The defendant submitted a urine specimen on May 14, 2012, which tested positive for

       marijuana. He admitted to use and was placed in substance abuse treatment. On July 12,

       2012, the defendant submitted another urine specimen which tested positive for marijuana.

       He again admitted to smoking marijuana. The defendant is currently scheduled forjwy trial

       on October 9, 2012, before the Honorable Jorge A. Soils.
p
          Case 5:12-mj-00791-HJB Document 1 Filed 08/09/12 Page 2 of 7


        Case 3:12-cr-00003-P Document 47 Filed 08/09/12                     Page 2 of 3 PagelD 158




     Assistant U.S. Attorney Gary Tromblay has been notified of the above noted violations. He does

    not oppose this officers suggeestion as noted below.



      he undersigned suggest to the court that a summons be issued and the defendant appear before a

    judge of this court to determine whether the defendant's conditions of pretrial release should be

    revoked.



    I declare under penalty of perjury that
    the foregoing is true and correct.


    Executed on August 8, 2012                             Approved,

                             2:50   PM                                        08/08/2012 2:47 PM

    Angela Roberson                                        Cecilio Bustamante
    U.S. Probation Officer                                 Supervising U.S. Probation Officer
    Dallas, Texas                                          214-753-2506
    214-753-2466
    Fax: 214-753-2570
         Case 5:12-mj-00791-HJB Document 1 Filed 08/09/12 Page 3 of 7


    Case 3:12-cr-00003-P Document 47 Filed 08/09/12                         Page 3 of 3 PagelD 159




       Having considered the report of the Probation Office pertaining to possible violations by
defendant Samuel George Hurd, HI, of his conditions of pretrial release, the Court ORDERS that:

(       ) No action be taken.

(       ) The Order Setting Conditions of Release is modified to iniude the following:


(       ) A summons be issued and the defendant      appear before ajudge of this Court to determine
          whether her conditions of pretrial release should be revoked.

(I) A violator's warrant be issued, and the above-named defendant be arrested forthwith and
          brought before a judge of this Court to determine whether her conditions of pretrial release
          should be revoked.

(   )     The office ofthe U.S. Attorney for the Northern District of Texas file a motion to revoke the
          conditions of the defendant's pretrial release, consistent with the information contained in the
          foregoing Report, and take such steps as are necessary to present such motion at the hearing
          thereon.


          SIGNED                1                   2OJ.




                                                  's'!



                                             11''
       Case 5:12-mj-00791-HJB Document 1 Filed 08/09/12 Page 4 of 7


     Case 3:12-cr-00003-P Document 45 Filed 08/08/12                   Page 1 of 4 PagelD 152



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §      No. 3:12-CR-003-P
                                                 §      ECF
SAMUEL GEORGE HURD, III (01)                     §

                   GOVERNMENT'S EXPARTE MOTION FOR
               ARREST AND REVOCATION OF PRE-TRIAL RELEASE

        The United States of America, by and through the undersigned counsel, moves this

Court for an order to arrest the defendant, Samuel George Hurd, III, and to schedule a

hearing to determine if his pre-trial release should be revoked after he is arrested.

        1.   Hurd stands indicted for offenses involving the trafficking cocaine and

marijuana. See ECF Doc. No. 35. Federal agents arrested Hurd on December 14, 2011,

in Chicago, Illinois area as he left a steakhouse with a kilogram of cocaine after he had

reached an agreement with an undercover agent to purchase multiple kilograms of

cocaine and 1,000 pounds of marijuana on a weekly basis for him to sell to others.

        2. On December 16, 2011, a federal magistrate judge in the Northern District of

Illinois released Hurd on conditions of release after he posted a $100,000 cash bond. The

order setting conditions of release specify that Hurd "must not violate any federal, state,

or local law while on release," and that he must "refrain use or unlawful possession of a

narcotic drug or other controlled substances defined in 21 U.S.C.           §   802, unless prescribed



Government's Ex Pane Motion for Arrest and Revocation of Pre-Trial Release - Page 1
       Case 5:12-mj-00791-HJB Document 1 Filed 08/09/12 Page 5 of 7


    Case 3:12-cr-00003-P         Document 45 Filed 08/08/12           Page 2 of 4 PagelD 153




by a licensed medical practitioner."      See ECF    Doc. No. 3, Conditions      1    & 8(p). Hurd has

violated these two conditions since his release.

        3. On June 6, 2012, federal agents arrested Jesse Tyrone Chavftul, Hurd's             co-


conspirator and cousin, in San Antonio, Texas, where Hurd currently resides, after

Chavful tried to acquire five kilograms of cocaine and 200 pounds of marijuana. On July

30, 2012, Chavful met with federal agents to discuss his involvement in the drug trade.

Chavful stated that in MarchlApril 2012, Hurd came to his T-shirt shop in San Antonio

and asked him to get him "something," meaning cocaine and marijuana. Chavful stated

that in May 2012, he delivered 30 pounds of marijuana packed in a blue ice chest to Hurd

at his T-shirt shop. Hurd payed $10,500 in cash for the marijuana.

        4. Chavful also stated that the cocaine and marijuana that he had tried to acquire

from an undercover agent at his T-shirt shop on June 6, 2012, was suppose to go to Hurd.

Chavful added that he had cellular telephone contact with Hurd            - at a number listed to
"Big Sam" in Chavful's cellular telephone book - during key points leading to the drug

delivery. Telephone records confirm that Chavful's cellular telephone, which was in his

possession when he was arrested, had called the telephone number listed to "Big Sam,"

which is a cellular telephone subscribed to Hurd's sister, three times after Chavful had

been told that the drugs were en route to his T-shirt shop. Thus, Chavful's account of this

event has been corroborated by independent evidence.

        5. On   August 8, 2012, Angela Roberson, a Pre-Trial Services Officer, contacted


Government's Lx Pane Motion for Arrest and Revocation of Pre-Trial Release - Page 2
                Case 5:12-mj-00791-HJB Document 1 Filed 08/09/12 Page 6 of 7
.-




             Case 3:12-cr-00003-P         Document 45 Filed 08/08/12             Page 3 of 4 PagelD 154


     C

         the government and informed that Hurd submitted two drug tests                 one in mid-May 2012,

         and the other in mid-July 2012that proved that he had used marijuana, a controlled

         substance, on two occasions after his release. Hurd admitted that he had unlawfully used

         marijuana after his release.

                 Therefore, the government requests that this Court order Hurd's arrest and

         schedule a hearing to determine whether his pre-trial release should be revoked after he is

         arrested.

                                                          Respectfully submitted,

                                                          SARAH R. SALDA1A
                                                          UNITED STATES ATTORNEY



                                                          GARY C. TROMBLAY
                                                          Assistant United States Attorney
                                                          Louisiana Bar Roll No. 22665
                                                          1100 Commerce Street, 3rd Floor
                                                          Dallas, Texas 75242
                                                          Telephone: 214.659.8638
                                                          Email: gary.tromblay(usdoj .gov




         Government's Ex Parte Motion for Arrest and Revocation of Pre-Trial Release - Page 3
                 Case 5:12-mj-00791-HJB Document 1 Filed 08/09/12 Page 7 of 7
       Case 3:12-cr-00003-P Document 48 *SEALED* Filed 08/09/12 Page 1 of 1 PagelD 160

                                             United States District Court
                                             Northern District of Texas
                                                            Dallas Division

        UNITED STATES OF AMERICA
                                                                                                              s
                           V.
                                                                                               CASE NUMBER: 3:12-cr-003-P               /
           SAMUEL GEORGE HURD,                                                      MAG. CASE NUMBER:


To: The United States Marshal
    and any Authorized United States Officer


                                          WARRANT FOR ARREST OF DEFENDANT

  You are hereby commanded to arrest the within-named defendant and bring him/her, forthwith, before the United States District Court
  to answer charges that he/she violated the conditions of his/her pretrial release imposed by the Court.
  NAME OF DEFENDANT:
  SAMUEL GEORGE HURD, III

  ADDRESS (STREET, CITY, STATE):
  Unknown

  TO BE BROUGHT BEFORE (JUDGE, NAME OF COURT, CITY, STATE):
  United States District Court, Northern District of Texas, Dallas Division



                       7jj
  Kare Mitchell U S Ditrict Court Clerk
                                                           s/C. Fisher
                                                           (By) Deputy Clerk
                                                                                                                  Aug 9, 2012
                                                                                                                      Date




                                                                I   1   1SJ     l




                                           Date Received                       Date Executed
   Warrant received and executed.


    Executing Agency (Name and Address)




   Name:                                                    (By)                                              Date:
